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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                     )       CASE No. 1:14CR194 (Defendant #14)
                                              )
               Plaintiff,                     )       JUDGE BENITA Y. PEARSON
                                              )       Magistrate Judge George J. Limbert
       v.                                     )
                                              )
KEITH E. KRAUSE,                              )       REPORT AND RECOMMENDATION
                                              )       OF MAGISTRATE JUDGE
               Defendant.                     )


       Pursuant to General Order 99-49, this case was referred on January 15, 2015 to United States

Magistrate Judge George J. Limbert for the purposes of receiving, on consent of the parties,

Defendant’s offer of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11,

causing a verbatim record of the proceedings to be prepared, referring the matter for presentence

investigation, and submitting a Magistrate Judge’s Report and Recommendation stating whether the

plea should be accepted and a finding of guilty entered. ECF Dkt. #170. The following, along with

the transcript or other record of the proceedings submitted herewith, constitutes the Magistrate

Judge’s Report and Recommendation concerning the plea of guilty proffered by Defendant.

       1.      On February 2, 2015, Defendant Keith E. Krause, accompanied by Attorney George

G. Keith, executed a consent to referral of his case to a United States Magistrate Judge for the

purpose of receiving his guilty plea.

       2.      Defendant Krause then proffered a plea of guilty to the first count in the Superseding

Indictment.

       3.      Prior to such proffer, Defendant Krause was examined as to his competency, advised
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of the charge and consequences of conviction, informed that the Court is not bound to apply the

Federal Sentencing Guidelines but must consult the guidelines and take them into consideration

when it imposes the sentence and of the possibility of a departure from the Guidelines, notified of

his rights, advised that he was waiving all of his rights except the right to counsel, and, if such were

the case, his right to appeal, and otherwise provided with the information prescribed in Fed. Crim.

R. 11.

         4.     The undersigned was advised that a written plea agreement existed between the

parties, and no other commitments or promises have been made by any party, and no other written

or unwritten agreements have been made between the parties.

         5.     The undersigned questioned Defendant Krause under oath about the knowing,

intelligent and voluntary nature of the plea of guilty, and the undersigned believes that Defendant

Krause’s plea was offered knowingly, intelligently, and voluntarily.

         6.     The parties provided the undersigned with sufficient information about the charged

offense and Defendant Krause’ s conduct to establish a factual basis for the plea.

         In light of the foregoing, and the record submitted herewith, the undersigned concludes that

Defendant Krause’ s plea was knowing, intelligent, and voluntary and all requirements imposed by

the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.




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       Accordingly, the undersigned recommends that the plea of guilty be accepted and a finding

of guilty be entered by the Court as to the first count in the Superseding Indictment.



Date: February 2, 2015                                /s/George J. Limbert
                                                      George J. Limbert
                                                      United States Magistrate Judge


        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of
Court within fourteen (14) days of service of this notice. Fed. R. Crim. P. 59. Failure to file
objections within the specified time constitutes a WAIVER of the right to appeal the Magistrate
Judge’s recommendation. Id.




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